Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 1 of 22




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



 WARNER BROS. RECORDS INC., et al.,

         Plaintiffs,

 v.                                            Case No. 19-cv-00874-MSK-MEH

 CHARTER COMMUNICATIONS, INC.,

         Defendant


      ______________________________________________________________________________

          PLAINTIFFS’ PARTIAL OBJECTION TO SPECIAL MASTER’S MAY 29, 2020
                        ORDER RESOLVING DISCOVERY DISPUTES
      _______________________________________________________________________________
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 2 of 22




                       CERTIFICATION PURSUANT TO D. COLO. L. CIV. R. 7.1(a)

           Counsel for Plaintiffs certifies that, pursuant to D. Colo. L. Civ. R. 7.1, they have

   conferred with counsel for Charter via email, and that Charter declined to consent to the

   requested relief.

                                                BACKGROUND

           Pursuant to the Order appointing Special Master, Plaintiffs object to the portions of the

   Special Master’s May 29, 2020 Order Resolving Discovery Disputes: (1) denying Plaintiffs’

   motion to compel production of “documents sufficient to show the actual monthly revenue

   [Charter] received from all Infringing Subscribers” from May 17, 2016 to present, ECF 181 at

   35-36 (RFP 33); (2) granting Charter’s motion to compel “the identification of each notice that

   corresponds to each of Plaintiffs’ works in suit,” ECF 181 at 24, ECF 190 at 11 (MPP

   Interrogatory 15, RCP Interrogatory 14); and (3) granting Charter’s motion to compel the

   identity of which “musical compositions-in-suit were recorded within which of the sound

   recordings in suit” by July 27, 2020, ECF 181 at 22; ECF 190 at 8-9 (MPP Interrogatories 13-

   14).1

           Under the Order Appointing Special Master, “any order, report, or recommendation of

   the Master on nondispositive motions (unless it involves a finding of fact or conclusion of law)

   will be deemed a ruling on a procedural matter,” reviewable for abuse of discretion. ECF 143 at

   ¶ 6. On the other hand, the “Court will decide de novo all objections to findings of fact or

   conclusions of law made or recommended by the Master.” Id. ¶ 8.




   1
     The time to object to the Special Master’s May 29 Order began to run from July 6, the date the
   Special Master re-issued that Order. See ECF 190 at 11-12 (“[T]he parties shall file objections to
   the May 29 Order within five business days of the issuance of this Order.”).

                                                     1
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 3 of 22




           A Special Master abuses her discretion when she “fails to articulate a reason for [her]

   decision . . . or articulates a reason which has no basis in fact[,] or the reason articulated is

   contrary to law. The reasons given, however, need not be one that is agreeable to the reviewing

   court.” Lee v. State Farm Mut. Auto. Ins. Co., 249 F.R.D. 662, 671 (D. Colo. 2008). But the

   “subordinate role of the master means that the trial court’s review for abuse of discretion may be

   more searching than the review that an appellate court makes of a trial court.” Fed. R. Civ. P.

   53, Advisory Committee Notes, 2003 Amendment, Note to Subdivision (g).

  I.   The Special Master abused her discretion in denying Plaintiffs discovery on the revenue
       Charter received from Infringing Subscribers from 2016 to the present.

           RFP 33 seeks documents sufficient to show the money Charter made from May 18, 2016

   to the present from subscribers who were the subject of Plaintiffs’ notices of infringement.2 This

   critical evidence will demonstrate the fees Charter collected, and in some cases, continues to

   collect from repeat infringers whose internet service it failed to terminate. The Special Master’s

   ruling denying such discovery should be overturned for two reasons, both of which dictate that

   the order be reviewed de novo.

           First, the Special Master reached an erroneous “conclusion of law” by holding that the

   fees Charter received from infringing subscribers after May 18, 2016 are not relevant to the

   claims or defenses in this action. No authority supports the notion that financial benefits from

   infringement cease on an arbitrary date, limited by the claim period. Indeed, the law is just the

   opposite: any benefit connected to infringement is relevant. Second, the Order rests on an

   erroneous “finding of fact” by stating that Charter’s “burden of producing such documents




   2
     RFP 33 sought, “[f]or the time period May 17, 2016 through the present, documents sufficient
   to show the actual monthly revenue you received from all Infringing Subscribers.” Ex. 6 at 8.

                                                      2
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 4 of 22




   outweighs its minimal probative benefit,” ECF 181 at 36. Charter made no burden arguments in

   its pre-hearing brief or during the hearing, and never disputed that compliance here is a matter of

   pulling billing records, from a database, for a set of subscribers whom Charter already has

   identified. These aspects of the Order also mandate reversal under an abuse-of-discretion

   review, because they “articulate[] a reason which has no basis in fact[,] or the reason articulated

   is contrary to law.” Lee, 249, F.R.D. at 671.

          A. Background

          Plaintiffs’ Prior Discovery Request Through 2016. Last year, Plaintiffs served RFP 19,

   seeking documents sufficient to show Charter’s monthly revenue from all subscribers identified

   in Plaintiffs’ Infringement Notices, from January 1, 2010 to May 17, 2016 (later limited during

   the meet-and-confer, to January 1, 2012 to May 17, 2016). Ex. 1 at 2. Charter objected that

   Plaintiffs were not entitled to this information, arguing that “receipt of a subscription fee for

   internet services is insufficient to demonstrate a direct financial benefit, as such receipt is not

   directly tied to the alleged infringement.” Ex. 2 at 17. At the December 17, 2019 hearing, the

   Court disagreed, finding this information to be relevant. Ex. 3 at 57:20-24. The Court ordered

   Charter to provide a report, by January 10, on the basis for Charter’s sole burden argument: to

   determine whether its accounting and data management systems can link the IP addresses of

   infringing subscribers and Charter’s accounting records, to permit Charter to state the revenue

   derived from those infringing subscribers. Id. At the hearing, Plaintiffs specifically reserved

   their right to seek this information from May 2016 to the present through a new discovery

   request. Id. at 58:9-59:2.

          Charter failed to make any burden showing by January 10, but nonetheless refused to

   produce the requested revenue information, requiring Plaintiffs to once again move the court to



                                                      3
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 5 of 22




   compel production. Ex. 4 at 3-4. At the February 19 hearing, Charter disclosed for the first time

   that, due to its policy of deleting ticket data on six- and eighteen-month cycles, it was only able

   to identify the subscribers associated with roughly 6 percent of Plaintiffs’ 700,000 notices—

   which accounted for just 11,000 subscribers in total. Ex. 5 at 105:11-121:12. The Court ordered

   Charter to produce the revenue Charter received from those subscribers by March 16, 2020. Id.

   at 143:2-144:1. Charter produced a single spreadsheet showing either billings to or revenue

   received from most (but not all) of the infringing subscribers it could identify.

          The Instant RFP 33. As they specifically reserved their right to do, Plaintiffs served

   another request seeking the same information for May 2016 to the present. Ex. 6 at 8 (RFP 33).

   Charter again refused, restating the same overruled objections. Ex. 7 at 13. At the May 18

   hearing before the Special Master, Charter argued that RFP 33 was somehow an “end run over a

   ruling that Judge Hegarty already made with respect to RFP 19.” Ex. 8 at 137:16-138:20. That

   was not true, of course; at the December 17 hearing, the Court expressly acknowledged that

   Plaintiffs had reserved their right to serve a subsequent request for revenues from May 2016 to

   the present, Ex. 3 at 58:9-59:2. Charter made no burden arguments in either its brief to the

   Special Master or at the hearing. Charter did not submit any declaration describing what burden,

   if any, updating the billing information would entail. And Charter did not dispute that “all

   Charter needs to do here . . . is export billing data from a database for a bunch of subscribers, and

   they did that previously and they can do it again.” Ex. 8 at 136:24-137:9.

          The Special Master’s subsequent order summarily denied Plaintiffs’ motion, concluding

   without any analysis or support that the requested information is not relevant and that the

   burdens of producing it outweigh any benefit. ECF 181 at 35-36. The Order did, however,




                                                    4
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 6 of 22




   correct Charter’s false statement at the hearing that Judge Hegarty had made any statements

   resolving post-2016 revenues. Id. at 36 n.4.

          B. The Special Master’s conclusion that revenue post-dating May 17, 2016 “is not
             relevant” is contrary to law.

          This Court already found that the revenue Charter received from infringing subscribers

   through May 2016 is relevant to the direct financial benefit Charter received from its subscribers’

   infringing activity. See supra I.A. The Special Master also acknowledged the relevance of that

   revenue. ECF 181 at 36. Thus, the only relevance question presented by Plaintiffs’ RFP 33 is

   whether Charter’s continued receipt of revenue from subscribers it knew were infringers, after

   the operative Claim Period, also bear on the financial benefit Charter received from the

   infringement. The answer to that question is yes; the Special Master erred in stating otherwise.

          The cases and legislative history on the “financial benefit” element make clear that

   subscription fees, if connected to infringement through the draw of infringing material or

   otherwise, are all relevant. Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004) (“The

   essential aspect of the ‘direct financial benefit’ inquiry is whether there is a causal relationship

   between the infringing activity and any financial benefit a defendant reaps regardless of how

   substantial the benefit is in proportion to a defendant’s overall profits.”); S. Rep. 105-190 at 44-

   45 (financial benefit would include “any such fees where the value of the service lies in

   providing access to infringing material”); Capitol Records, LLC v. Escape Media Grp., Inc.,

   2015 WL 1402049, at *42 (S.D.N.Y. Mar. 25, 2015) (direct financial benefit exists where

   service provider has “an economic incentive to tolerate infringing conduct”). Indeed, Judge

   Hegarty’s discussion of the Ellison case in addressing Charter’s motion to dismiss shows that

   actions post-dating the Complaint could be relevant to whether the defendant obtained a direct

   financial benefit. ECF 71 at 10 (“AOL’s action upon its receipt of plaintiff’s complaint of


                                                     5
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 7 of 22




   blocking access to the infringing material led the court to find the plaintiff failed to demonstrate

   the defendant received a direct financial benefit from the infringement alleged in that case”).

          Judges Hegarty and Jackson have both found that Plaintiffs adequately pleaded this

   connection between subscription fees and infringement by asserting, inter alia, that Charter’s

   subscribers have used its services to illegally distribute Plaintiffs’ content; that they were

   motivated to subscribe by Charter’s advertisement of features attractive to peer-to-peer

   infringers; that despite receiving hundreds of thousands of notices of Charter’s subscribers’

   infringing activity, Charter did nothing to stop it; that Charter’s failure to police infringement

   motivated subscribers to purchased more bandwidth; and that Charter failed to take action

   against subscribers precisely in order to continuing earning subscription fees. ECF 71 at 11-12

   (Judge Hegarty citing these allegations in finding Plaintiffs adequately pleaded direct financial

   benefit); ECF 157 at 10-11 (same by Judge Jackson).

          Having adequately pleaded the connection between infringement and subscription fees,

   Plaintiffs are entitled to adduce evidence of the full scope of the financial benefits Charter

   received from its subscribers’ infringing conduct. That includes the fees they continued to

   collect from these subscribers in the years after receiving the 700,000 infringement notices

   Plaintiffs sent during the Claim Period. Indeed, in the related Sony v. Cox matter, the court not

   only found years of post-Claim Period revenues discoverable, but also admitted them at trial over

   Cox’s objection. Ex. 9 at 2-3. There is even more reason to order the production of such

   revenue information here. In Cox, the defendant produced ticket data and associated revenue for

   all of the infringing subscribers. Here, Charter can only identify the subscribers associated with

   approximately 6% of Plaintiffs’ infringement notices and thus have only produced revenue data

   for infringing subscribers associated with a tiny fraction of Plaintiffs’ notices. Plaintiffs are left



                                                      6
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 8 of 22




   with only a sliver of the revenue information that should have otherwise been available to them;

   they should at least receive the entirety of that sliver.3

           Finally, the Special Master’s relevance determination is also an abuse of discretion

   because it is entirely inconsistent with another discovery ruling in which Plaintiffs were ordered

   to produce their own revenues for 2017, 2018 and 2019. ECF 164 at 7. Neither that Order nor

   the May 29 Order explain why information about Plaintiffs’ revenues following the Claim Period

   would be relevant, but Defendant’s revenues following the Claim Period are not.

           C. The Special Master’s burden finding has no basis in fact.

           After stating that “the requested post-claim information is not relevant,” the Order

   concludes that “the burden of producing such documents outweighs its minimal probative

   benefit.” ECF 181 at 36. But Charter never put forward any evidence on burden in its pre-

   hearing brief or at the hearing. Ex. 10 at 5; Ex. 8 at 133:16-148:14. Charter has already

   undertaken the only activity it has ever identified as burdensome for producing revenue from

   infringing subscribers: linking the IP addresses of infringing subscribers and Charter’s

   accounting records. Now that it has done so, it need only query its systems for the same type of

   information it already provided, but for a different date range. Charter does not dispute this. Ex.

   8 at 133:16-148:14. This merits reversal under de novo review and also constitutes an abuse of

   discretion because it “articulates a reason which has no basis in fact.” Lee, 249, F.R.D. at 671.

 II.   The Special Master abused her discretion in requiring Plaintiffs to respond to
       interrogatories that require expert analysis prior to the date of expert reports.

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     As discussed during the December hearing, Charter’s revenue from infringing subscribers is
   also relevant to Plaintiffs’ claim for statutory damages. Ex. 3 at 48:5-49:13; Fitzgerald Pub. Co.,
   Inc. v. Baylor Pub. Co., Inc., 807 F.2d 1110, 1117 (2d Cir. 1986) (stating that “the expenses
   saved and the profits reaped by the infringers are considered” in statutory damages awards); NFL
   v. PrimeTime24 Joint Venture, 131 F. Supp. 2d 458, 473 (S.D.N.Y. 2001) (noting that one
   purpose of statutory damages is restitution of “ill-gotten profits”; also stating that “expenses
   saved and the profits earned by the defendant” are relevant).

                                                      7
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 9 of 22




           MPP Interrogatory 15 and RCP Interrogatory 14 ask Plaintiffs to identify “each RIAA

   Notice that references the allegedly infringed file corresponding” to each musical composition or

   sound recording in suit, respectively. Ex. 11 at 10; Ex. 12 at 8. The information sought in these

   interrogatories is not information that Plaintiffs have at hand, and will require the sort of analysis

   that will ultimately be undertaken by experts on both sides of the case, based on data that

   Plaintiffs have already produced. In ordering Plaintiffs to respond to these Interrogatories, the

   Special Master abused her discretion in multiple ways. First, the Special Master presumed

   without any basis that Plaintiffs had already conducted the analysis at issue—they have not.

   Second, the Special Master improperly concluded that Plaintiffs could more easily conduct the

   requested analysis than Defendants. This conclusion is without basis; the burden is the same for

   both parties, each of which would be working from the same data sets already produced. Third,

   and critically, the Order effectively requires Plaintiffs to conduct and disclose expert analysis

   nearly eight months before the deadline for such disclosures.

           A. Background

           Torrents and hashes. Peer-to-peer (“P2P”) networks, including BitTorrent, provide a

   means for downloading and distributing “torrent” files. A torrent file can contain one or more

   music files within it, including complete albums, anthologies, or collections of assorted works.

   Each torrent file has a unique identifier called a hash value, and all files with the same hash value

   are identical.

           Notices. When Plaintiffs’ antipiracy vendor, MarkMonitor, detected a Charter subscriber

   distributing a torrent file that contained infringing copies of Plaintiffs’ works—potentially

   among many other works—it sent a notice to Charter that identified the torrent file by hash and

   named a representative sample of one sound recording in the torrent. From 2012-2016,

                                                     8
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 10 of 22




    MarkMonitor sent Charter over 700,000 notices of infringement. For each notice sent,

    MarkMonitor recorded certain information from the detected infringement in a database,

    including the Notice ID, a sample (but not a complete list) of works infringed, and the hash value

    listed in the notice. Plaintiff have produced a spreadsheet containing that information for all

    700,000-plus notices that MarkMonitor sent to Charter.

            Audible Magic Data. Before MarkMonitor sends a notice on a torrent file that it believes

    contains infringing works, MarkMonitor downloads the torrent file and runs it through a content-

    recognition service called Audible Magic. That service identifies the recordings contained

    within the torrent file. MarkMonitor records the results of the Audible Magic look-ups in a

    database, including information that correlates the hash value of a given torrent file to recordings

    that the torrent file contains. Plaintiffs have produced the relevant data from MarkMonitor’s

    database of verified infringing files, including information that correlates hashes to recordings.

            Interrogatories at issue. The information sought by these interrogatories involves (1) first

    linking two large datasets (the notice data and Audible Magic data) through a common field—

    hash value—to identify all works in a given torrent and thus associated with a given hash, and

    (2) then correlating each of more than 700,000 infringement notices to each of more than 11,000

    works in suit. Charter possesses the notices, a spreadsheet of relevant data from the notices, the

    infringing torrent files for the works in suit, and a spreadsheet of works that matches hash values

    to torrent files.

            Expert analysis in Sony v. Cox. In the Cox case, where Charter’s counsel represented

    Cox, both parties employed experts to analyze and report on the connection between

    infringement notices and works in suit. See generally, Ex. 13 (Direct Examination of Dr. George




                                                     9
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 11 of 22




    P. McCabe); Ex. 14 (Direct Examination of Christian Tregillis). Charter is able to do the same

    thing here that its counsel did in Cox.

           Special Master Hearing and Ruling. At the May 15 hearing, the Special Master, after

    pages of argument by both parties, initially was “not inclined to require the production of

    anything further” because she understood that Charter possessed the information needed to

    conduct the requested analysis. Ex. 15 at 63:15-16. After further argument by Charter, she

    requested supplemental briefing on “what it is you’re claiming the notices say and don’t say and

    what the obligation is there.” Id. at 68:21-23. Both parties submitted letter briefs on May 20,

    2020. Exs. 16-17. Plaintiffs set forth in detail the process required to undertake the requested

    analysis from their existing document production. Ex. 16. Charter’s letter brief contained no

    declaration indicating that it could not conduct the analysis itself or that it would be unduly

    burdensome to do so. Rather, Charter conceded it could conduct the analysis itself but claimed it

    would be easier for Plaintiffs to do so. Ex. 17 at 2.

           The Special Master accepted Charter’s incorrect argument that Plaintiffs must have

    already completed the requested analysis in order to have determined which works to sue on in

    this litigation. Because of this, and because a party may only provide a document in lieu of a

    written response where the burden is the same for either party, the Special Master granted

    Charter’s Motion to Compel. ECF 181 at 24-45. In denying Plaintiffs’ request for

    reconsideration, the Special Master concluded that the requested analysis does not appear to be

    an expert analysis but rather a basic factual one. ECF 190 at 10.

           B. The Special Master’s burden finding has no basis in fact.

           Underlying the Special Master’s Order is the conclusion that “Plaintiffs’ burden of

    producing the requested information is less than Charter’s.” ECF 181 at 25. This conclusion is



                                                     10
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 12 of 22




    clearly erroneous for two reasons. First, the only support for this is Charter’s argument that

    “Plaintiffs [must] have already completed this analysis” in order to bring the suit. Id. at 24-25.

    But that unsupported assertion is simply wrong. To be sure, in preparing to file this case,

    Plaintiffs confirmed that each work in suit was supported by at least one notice. But what the

    Special Master has ordered is far more extensive: correlation of each of more than 700,000

    notices to each of more than 11,000 works in suit. As Plaintiffs have made clear, “[t]he

    requested discovery does not exist in Plaintiffs’ files.” Ex. 18 at 1. Charter’s speculative

    assertion to the contrary is not a valid basis for a determination of discovery burden. King v.

    Solvay S.A., No. 14-mc-00196-LTB-KLM, 2014 WL 4267457, at * 4 (D. Colo. Aug. 28, 2014)

    (speculation insufficient to establish burden).

           Second, there is likewise no factual support for the Special Master’s conclusion that it

    would be easier for Plaintiffs to undertake the requested analysis than for Charter to do it.

    Charter has same data that Plaintiffs would use to conduct this analysis. Moreover, Plaintiffs set

    forth in detail how to conduct the analysis in their May 20 submission to the Special Master. Ex.

    17. As that May 20 letter plainly shows, the burden is no different for either party; Charter is

    equally well situated to conduct the analysis. Id. Plaintiffs’ existing productions and detailed

    explanation of how to conduct the analysis, as set forth in their May 20 letter, should be deemed

    a sufficient interrogatory response under Fed. R. Civ. P. 33(d). Bayview Loan Servicing, LLC v.

    Boland, 259 F.R.D. 516, 519 (D. Colo. 2009) (Rule 33(d) satisfied by production of documents) .

           C. The Special Master’s Order calls for the premature production of expert
              discovery.

           The Scheduling Order set by this Court following briefing by the parties sets expert

    disclosures for March 1, 2021. ECF No. 146 at 2. The Special Master’s Order, however,

    effectively requires Plaintiffs to conduct and disclose expert analysis nearly eight months early.

                                                      11
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 13 of 22




    Relying on a single example set forth in Plaintiffs’ May 20 submission, the Special Master

    erroneously concluded that because the data analysis does not require any particular expertise,

    the process as a whole does not amount to expert discovery. ECF 190 at 11. That ruling,

    however, ignores the complexity of the analysis required to first correlate approximately 10,000

    hashes to individual works, then correlate more than 700,000 infringement notices to each of

    more than 11,000 works in suit. In the Cox case, similar data analysis was performed by a

    statistical expert and professor with more than 50 years of experience (Plaintiffs) and a forensic

    accountant who has testified over 100 times (Cox), respectively.

           Nothing Charter has presented warrants treating these interrogatories as basic fact

    discovery or requiring Plaintiffs to provide expert discovery eight months early. Charter faces

    no prejudice from having to wait for Plaintiffs’ expert to produce an analysis of notices to works

    in suit, as the parties have always contemplated. In the meantime, Charter is free to conduct

    whatever analysis it wants with the data that has been produced in full. In the event the Court

    concludes that Plaintiffs must nevertheless provide the requested discovery, it should be done in

    accordance with the schedule set for expert discovery.

 III.   The Special Master abused her discretion in requiring Plaintiffs to provide discovery by
        July 27, 2020 that will improperly influence Charter’s counsel’s post-trial submission in
        the Cox case on August 3, 2020.

           The Special Master’s ruling requiring Plaintiffs to identify by July 27, 2020 which

    musical compositions-in-suit are (and are not) embodied by sound recordings-in-suit constitutes

    an abuse of discretion for three reasons. First, the Special Master’s conclusion that Charter is

    incapable of conducting the analysis is clearly erroneous and has no basis in fact. Second,

    Charter should bear the burden of conducting the analysis, as the court in Cox ordered on the

    same issue. Third, in requiring Plaintiffs to produce information in response to this request by


                                                    12
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 14 of 22




    July 27, the Special Master ignored the demonstrated risk that this discovery will improperly

    infect key briefing in the Cox case that is due August 3, given that the same counsel represents

    both Charter and Cox.4

           A. Background

           Interrogatories at issue. Charter served two interrogatories asking Plaintiffs to identify

    which musical compositions in suit correspond with which sound recordings in suit.5 Plaintiffs

    timely objected that Charter could readily undertake the same analysis, as well as on grounds of

    relevance and burden. On May 8, Charter asked the Special Master to compel responses to both

    interrogatories. Plaintiffs explained that the requested discovery does not exist in Plaintiffs’

    files, the discovery is not relevant because each individual copyrighted work is subject to an

    individual statutory damage award, and because Charter can undertake the analysis itself. As

    above, the Special Master asked for additional briefing, which the parties provided on May 20.

           May 29 Special Master Order. On May 29, the Special Master ordered Plaintiffs to

    provide the requested discovery. ECF 181 at 24. In relevant part, the Special Master determined

    that because some compositions share the same title, and some compositions have a title that is

    not a title of a sound recording, it is not possible to determine which compositions are and are

    not embodied in a sound recording in suit. Id. at 23-24.




    4
     Concurrent with this motion, Plaintiffs are filing a motion to stay the July 27 production
    deadline set forth in the Special Master’s July 6 Order. For the reasons explained therein, absent
    a stay, Plaintiffs’ objection stated here will effectively be mooted, because Plaintiffs will be
    forced to produce the requested information prior to resolution of this objection and prior to
    Charter’s counsel’s submission in the Cox case on August 3.
    5 MPP Interrogatory 13 asks Plaintiffs to “[i]dentify which of the music composition(s) [in suit]
    correspond with (or are embedded within) which of the sound recording(s) [in suit].” Ex. 11 at
    9. MPP Interrogatory 14 is identical, but seeks the inverse, i.e., which musical compositions in
    suit “do not correspond with” sound recordings in suit. Id. at 10.

                                                     13
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 15 of 22




           Sony v. Cox ruling. Shortly after the Special Master’s order issued, the court that

    presided over the December 2019 trial in the materially identical Sony Music Entertainment v.

    Cox Communications, Inc. case issued an opinion on post-trial motions. 1:18-cv-950-LO-JFA,

    2020 WL 3121306 (E.D. Va. June 2, 2020). Judge O’Grady affirmed the jury’s verdict but

    concluded that the number of statutory damages awards Plaintiffs could collect must be

    redetermined based on the relationship between compositions in suit and sound recordings in

    suit. See id. at *19-25. Since that issue had not been resolved at trial, Judge O’Grady ordered

    Cox to “prepare a list of overlapping works in suit” and to “calculate and propose a new number

    of works in suit for purposes of statutory damages within sixty days of the date of this opinion,”

    or August 3, 2020. Id. at *26. Critically, Judge O’Grady put the burden on Cox to undertake the

    overlap analysis in the first instance because Cox’s counsel—the same counsel that represents

    Charter here—made clear to the court that it was a “ministerial” task to determine the number of

    overlapping works. Ex. 19 at 10 n.6.

           Request for reconsideration. In light of Judge O’Grady’s opinion, Plaintiffs asked the

    Special Master to reconsider her May 29 Order on this issue. Ex. 20 at 3-4. Plaintiffs’ motion

    was based on two grounds. First, because Judge O’Grady had required Cox, represented by the

    same counsel as Charter in this litigation, to bear the burden of providing a “list of overlapping

    works in suit,” Charter should likewise bear the burden in this litigation. Id. at 3. Second, even

    if the Plaintiffs would still be required to undertake the analysis, the deadline for providing that

    analysis should be deferred until after Charter’s counsel—which also represents Cox—had

    completed their submission in the Cox case—at a minimum, past August 3, 2020. This would

    protect against any potential or inadvertent use of information provided by Plaintiffs in this

    litigation to impact the Cox litigation—where the defendant decidedly bears the burden.



                                                     14
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 16 of 22




           July 6 Special Master Order. The Special Master denied Plaintiffs’ reconsideration

    request on July 6. ECF 190. In relevant part, the Special Master distinguished the posture of the

    present case from that in Cox as a basis for placing the burden on Plaintiffs here. ECF 190 at 6-

    7. The Special Master further denied Plaintiffs’ request to defer slightly the date by which they

    must produce the information until after Cox submits its August 3 list of overlapping works.

    Instead, the Special Master affirmatively required Plaintiffs to respond to the Interrogatory by

    July 27—one week before Charter’s counsel must make its submission on behalf of Cox in the

    Cox matter. Id. at 9. Neither the Special Master nor Charter identified any prejudice that would

    result from deferring Plaintiffs’ production deadline by approximately one week to avoid the

    very real risk of interfering with post-trial proceedings in Cox. Nor had Charter even requested

    the Special Master establish a date certain for the production of the discovery. Ex. 24 at 5.

           B. The Special Master’s Order is logically flawed, and Charter should bear the
              burden, as ordered in Cox.

           In the May 29 Order, the Special Master makes a logical leap to a false conclusion,

    constituting an abuse of discretion. The Order first concludes that, because of duplicative

    composition names, the analysis “does not appear to be as simple as merely comparing two

    listings to provide potential overlap.” ECF 181 at 24. Because of this, and because the

    information is relevant, the Special Master concludes that “Charter cannot discover this

    information merely by analyzing the documents that Plaintiffs have already produced” in two

    spreadsheets listing the sound recordings and compositions Id.6

           But Plaintiffs have produced far more in this litigation than two spreadsheets, including



    6While Plaintiffs disagree that this information is relevant to the issue of statutory damages
    awards, that is not the basis of the instant request, and Plaintiffs expressly reserve the right to
    separately challenge in this case the legal issues underpinning that determination at an
    appropriate procedural stage.
                                                      15
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 17 of 22




    copyright registration information that can identify the performing artist of a musical

    composition. For example, one of the compositions entitled “Everything,” which the Special

    Master relied on as an example of a work that Charter allegedly could not on its own match to a

    sound recording, appears on Plaintiffs’ list of compositions (at Exhibit B to the Complaint) with

    registration number PA0001600375. The copyright registration for this work that Plaintiffs

    produced indicates that the performing artist is Michael Bublé. Ex. 21. Charter can plainly

    determine for itself that this composition is embodied in the Michael Bublé sound recording in

    suit by the same name. As above, “[t]he requested discovery does not exist in Plaintiffs’ files,”

    and Charter is in equal position to perform the analysis. Ex. 18 at 1.

           Nor is there any question that Charter knows how to identify overlap between

    compositions and sound recordings, because Charter’s counsel represented to the Cox court that

    such an analysis was a “ministerial act.” Ex. 19 at 10, n.6. Judge O’Grady took Charter’s

    counsel at its word, ordering Cox to conduct such an analysis for the Cox litigation based

    expressly on that representation. 2020 WL 3121306, at *26. Here too, Charter should bear the

    burden of conducting this analysis, whether by using the documents Plaintiffs have produced, or

    by expert analysis, as they attempted to do in Cox. Ex. 18 at 57:23-58:3. A “party cannot

    ordinarily be forced to prepare its opponent’s case.” Bayview, 259 F.R.D. at 519.

           C. The Special Master ignored the demonstrated risk of improper cross-pollination
              between this case and the Cox case in ordering Plaintiffs to provide the
              requested discovery days before Charter’s counsel makes a critical post-trial
              filing in Sony v. Cox.

           The Special Master wholly disregarded the demonstrated risk of improper commingling

    between discovery in this case and Cox in ordering Plaintiffs’ production by July 27. Ignoring

    that risk was an abuse of discretion and warrants reversal or revision of the date by which

    Plaintiffs much provide the requested discovery.

                                                    16
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 18 of 22




           Plaintiffs (most of whom are also plaintiffs in Cox) need to ensure that discovery on

    overlapping works produced here cannot be used—even inadvertently—to influence resolution

    of this issue in Cox. Critical to this are the facts that (i) Cox is represented by the same Winston

    & Strawn attorneys that represent Charter here, (ii) approximately 80 percent of the works in suit

    in this case are also at issue in Cox, (iii) Cox did not adduce direct evidence on the relationship

    between sound recordings and musical compositions, and (iv) Cox must make its submission

    based on the evidentiary record in that case.

           The Special Master’s Order risks prejudicing the process that District Judge O’Grady

    established to resolve this post-verdict issue in Cox. If Plaintiffs are required to provide

    discovery on the “overlap” between sound recordings and musical composition in Charter on

    July 27—before Winston & Strawn files Cox’s brief on August 3—there is a meaningful risk

    that discovery from this case, produced only for the purpose of this litigation, could improperly

    influence the briefing and outcome in Cox. Hundreds of millions of dollars are potentially at

    stake in Cox based on this precise issue.

           Moreover, and critically, only this Court (and not Judge O’Grady in Cox) is in a position

    to guard with certainty against the risk of improper influence. To be sure, it is easy enough to

    determine if defense counsel expressly relies upon the information disclosed here in its

    submission in Cox, and to direct any complaints about that to Judge O’Grady. The issue here,

    however, is the risk of a less explicit, but no less real, crossover of information from this case to

    Cox, where the evidentiary record is closed. Simply put, despite defense counsel’s very best

    intentions, there is no way for them to unlearn the information that they learn in this case, nor is

    there any practical way to determine conclusively the extent to which defense counsel’s

    submission in Cox is informed or influenced by what they learn from the information disclosed



                                                     17
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 19 of 22




    here. Indeed, “it is very difficult for the human mind to compartmentalize and selectively

    suppress information once learned, no matter how well-intentioned the effort may be to do so.”

    F.T.C. v. Exxon Corp., 636 F.2d 1336, 1350–51 (D.C. Cir. 1980). Once Charter’s counsel is

    exposed to information that certain compositions are embodied in certain sound recordings, that

    information will inevitably become part of the Cox analysis.

           This is no attack on Winston & Strawn’s ethics or intentions, and Plaintiffs are mindful

    that the Stipulated Protective Order prohibits use of confidential discovery for any purpose

    outside this litigation. But this is also no idle speculation. In several instances, Charter’s

    counsel has relied on access to confidential discovery produced in Cox to ground discovery

    demands in this case. To cite just two examples, Charter’s counsel recently questioned

    Plaintiffs’ privilege claims here on the basis that, “Plaintiffs have logged numerous documents as

    privileged that were produced in Sony v. Cox.” Ex. 22 at 3. Charter also argued in its June 26

    submission to the Special Master that “[d]ocuments produced in Sony demonstrate” Charter’s

    entitlement to certain discovery. Ex. 23 at 16. The Cox protective order prohibits this cross-

    pollination, and yet, it continues to occur.

           Even assuming Winston & Strawn refrains from relying openly on the Charter discovery

    in the Cox briefing, or using it directly to assist its analysis, those attorneys cannot un-learn what

    they learned—especially on an issue of such importance. Nor would it be possible to implement

    adequate screening measures given the number of overlapping Winston & Strawn attorneys on

    the two cases.7 A simple extension of Plaintiffs’ production deadline until after August 3—a

    mere week beyond that ordered by the Special Master—by contrast, can definitively protect


    7
     At least the following Winston & Strawn attorneys are actively involved in both the Cox and
    Charter cases: Michael Elkin, Jennifer Golinveaux, Sean Anderson, Thomas Patrick Lane,
    Michael Brody and Cesie Alvarez.

                                                      18
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 20 of 22




    against these material risks.

           Even if the burden remains on Plaintiffs to perform the analysis here, Charter will not

    suffer any prejudice from a brief delay of the production of the overlap between sound

    recordings and musical compositions. Charter’s only claim to prejudice if the production is

    deferred was that Charter “intends to begin serving Rule 30(b)(6) deposition notices on Plaintiff

    groups in the next week” and “should not be required to put off depositions while awaiting basic

    discovery for months.” Ex. 24 at 5. Two weeks have passed since Charter’s letter, and it has not

    served any 30(b)(6) notice. Nor would a slight deferral in the production of this information

    require the delay of any deposition. As explained supra, III.B, Charter is perfectly capable of

    conducting this analysis on its own, or having an expert perform it, as Charter’s counsel claimed

    could be done at the Cox trial.

           In sum, in the even the Court concludes that Plaintiffs must provide the discovery (and it

    should not), Plaintiffs’ production deadline to do so should be extended until at least after August

    3, 2020, the date Cox’s post-trial submission is due in that litigation.

                                              CONCLUSION

           For these foregoing reasons, the Court should overturn the Special Master’s rulings on

    Plaintiffs’ RFP 33; connecting notices to works in suit (MPP Interrogatory 15 and RCP

    Interrogatory 14); and the overlap between musical compositions and sound recordings (MPP

    Interrogatories 13 and 14).



     Dated: July 13, 2020                             /s/ Matthew J. Oppenheim

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                                                     19
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 21 of 22




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                                          20
Case 1:19-cv-00874-RBJ-MEH Document 199 Filed 07/13/20 USDC Colorado Page 22 of 22




                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 13, 2020, I caused the foregoing document and all

    supporting materials thereto to be filed electronically with the Clerk of the Court using the

    CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

    with CM/ECF.


                                                          /s/ Matthew J. Oppenheim
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                                                    21
